                              NO.  07-10-0208-CV
					 
	IN THE COURT OF APPEALS

	FOR THE SEVENTH DISTRICT OF TEXAS

	AT AMARILLO

	PANEL D

	DECEMBER 8, 2010

	______________________________


                    WELLS FARGO BANK, NATIONAL ASSOCIATION

										Appellant
	v.

	CATHERINE D. KOEHLER TRUST AND LOUISE TRAMMEL TRUST,

										Appellees
	_________________________________

	FROM THE 108TH DISTRICT COURT OF POTTER COUNTY;

	NO. 98,287-E; HON. DOUGLAS WOODBURN, PRESIDING
	_______________________________
                                       
                              Memorandum Opinion
                        _______________________________
                                       
Before QUINN, C.J., and CAMPBELL and PIRTLE, JJ.
	Pending before the court is the joint motion of appellant Wells Fargo Bank, National Association and appellees, the Catherine D. Koehler Trust and the Louise Trammell Conley Trust, to reverse the trial court's judgment and remand the cause.  The movants represent they have settled their dispute but that the settlement necessitates entry by the trial court.  Thus, they request that the judgment be reversed and the cause remanded to the trial court to reinvest it with jurisdiction to consider the compromise.  Therefore, we grant the motion.
	Accordingly, the judgment is reversed and the cause is remanded to the trial court pursuant to Texas Rule of Appellate Procedure 43.2(d) and Dunn v. Canadian Oil &amp; Gas Serv., Inc., 908 S.W.2d 323 (Tex.App. - El Paso 1995, no writ).

						Brian Quinn
					          Chief Justice
		


